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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION

VICKY STOKES, RODNEY BARNETT,       )
AND MICHAEL BARNETT, AS THE         )                 Civil Action No.: 2:25-cv-02110-BHH
PERSONAL REPRESENTATIVES OF         )
THE ESTATE OF JOHN M. BARNETT,      )
                                    )
            PLAINTIFFS,             )                     COMPLAINT
                                    )                 (Jury Trial Demanded)
            vs.                     )
                                    )
THE BOEING COMPANY,                 )
                                    )
            DEFENDANT.              )
___________________________________ )

        COMES NOW Plaintiffs Vicky Stokes, Rodney Barnett, and Michael Barnett (collectively,

             , as the Personal Representatives of the Estate of John M. Barnett, complaining of the

Defendant, The Boeing                           , and who allege and aver before this Honorable

Court upon personal knowledge and upon information and belief as follows:

                                      I.      INTRODUCTION

        1. This is a civil action for wrongful death and abuse of process brought by Plaintiffs Vicky

Stokes, Rodney Barnett, and Michael Barnett, as the Personal Representatives of the Estate of John

M. Barnett, a long-term Boeing Quality Manager.

        2. The failure of quality control at Boeing over the last decade is well known and well

documented, as are the consequences of that failure, which include planes crashing and coming

apart in the air.

        3. The causes of the dangerous decline in Boeing            quality control are also well

documented, which include:

                                                     and production at the expense of quality and

               safety;


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              the failure to follow F                                               AA      standards,

              procedures, and regulations, including the failure to properly document and remedy

              defects and the failure to properly document the aircraft build record, especially

              since some of these failures constitute felonies and all of which threaten the safety

              of the flying public; and

              a deep-rooted culture of concealing defects and safety violations, and of harassing,




       4.

legal obligations but pressured other personnel to ignore and conceal defects and to not properly

document aircraft build records.

       5. John M. Barnett

plant in North Charleston, South Carolina, known as Boeing South Carolina                       . John

believed in his calling and believed in Boeing. He was proud of his job and was initially proud of

Boeing. He took his role seriously in protecting the flying public, and he believed that he had a

personal, legal, and moral obligation to ensure, to the best of his ability, that every possible defect

was identified, documented, and remedied.

       6. When John tried to do his job, Boeing Management pressured him to not document

defects or to not properly document the aircraft build record in order to avoid production delays.

When John persisted, Management embarked on a concerted campaign of harassment, abuse, and

intimidation intended to discourage, discredit, and humiliate him until he would either give up or

be discredited.




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         7. In addition, John was given                                                was socially

isolated and separated from his team, was moved to other areas in the plant, was blocked from

transferring to more favorable shifts, and was blacklisted from other Boeing divisions.

         8. John did his best to stay positive and persevere. However, eventually the concerted

harassment and abuse were too much.

         9. In early 2017, John                              him with post-traumatic stress disorder

            , depression, panic attacks, and anxiety stemming from

work environment, and John was forced out of Boeing.

         10. One example of the retaliation and abuse John suffered for reporting safety issues at

Boeing was highlighted by the Permanent Sub-Committee on Investigations of the U.S. Senate

Committee on Homeland Security & Governmental Affairs

    Broken Safety Culture on June 18, 2024. One of John                      s called John 19 times

within an 8-hour period in late October 2016, and then 21 times within 8 hours a few days later. The

senior manager told John,

                                                       as                     John

         11. In January 2017, John filed a complaint

Safety and                                    against Boeing for unlawfully retaliating against him

in violation of the Wendell H. Ford Aviation Investment and Reform Act for the 21st Century1

    AIR21 , 49 U.S.C. § 42121. See Exhibit A, AIR21 Amended Complaint (Redacted). The

AIR21 case is still pending as of the filing of this Complaint.




1

discrimination against employees of [the] U.S. air carrier industry and U.S. manufacturers who
                                                AIR21 Whistleblower Protection Program, FAA,
https://www.faa.gov/about/initiatives/whistleblower (July 24, 2024).

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       12. During the pendency of the AIR21 case, Boeing engaged in a scorched-earth series of

repeated abuses of process, including failing to comply with three court orders to produce

documents, some of which

how the serious safety concerns he raised were handled. The court in the AIR21 case sanctioned

Boeing for its discovery abuse.

       13. After leaving Boeing, John repeatedly tried to move on with his life. However, on

March 9, 2024, the weight of years of                 harassment, abuse, and humiliation became too

much for John to bear, and he took his own life on what was to be the third day of his deposition

in the AIR21 case. Boeing had threatened to break John and break him it did.

       14. The police report regarding John                                   John sent on February

28, 2021, that provides an insight into                                                      is quoted

in the Police Report, which is attached as Exhibit B at pages 41-42, and states:

       I m trying to figure out what it would take to make me whole again . I really don t
       know where to start answering that question. Looking at the definition, I found
       where it states To restore (someone) to a sound, healthy, or otherwise favorable
       condition. To repair or restore (something). I fully understand the direct costs that
       we can establish, i.e. lost pay, lost bonuses, etc. What I am struggling with is, how
       do you repair or restore a person s overall outlook on life? I used to be a very happy
       go lucky guy that loved his job, his Company and the products they built. I had a
       very positive outlook on life. Boeing has absolutely destroyed my outlook on life.
       I often sit here and think,         the use, what s the point of life? A person works
       hard all their life, trying to do the right thing, treating others with respect, just to
       have their entire professional life destroyed because they were doing as they were
       trained and expected to do...follow the rules. What is a person s outlook on life
       worth? And looking at the mental toll it has had on me. I suffer from anxiety attacks,
       depression, panic attacks, PTSD... I ve got an anger inside me that I ve never
       experienced before and I don t understand how to control... How do you put a price
       on that? Sometimes I think...maybe if I go out and find a job, it will help. And then
       the anxiety hits just thinking about having to report to someone that has control
       over me and my performance ratings. I don t have the mental fortitude to put myself
       in that position again...I just can t do it, not right now anyway. How do you put a
       price on that? Each time I do an interview, deposition or other stressful discussion
       on what happened with me and Boeing, I re-live those years all over again. It puts
       me in a deep depression for a week or two, (depending on the intensity level of the


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       discussion). I shut myself in, I don t want family or friends coming over, I am angry
       at the world!...

       15. As he was taking his life three years later, John left a note underscoring the depths to

                                         . The note in its entirety follows:




       16. Whether or not Boeing intended to drive John to his death or merely destroy his ability

to function, it was absolutely foreseeable that                                  PTSD and

unbearable depression, panic attacks, and anxiety, which would in turn lead to an elevated risk of

suicide.

clear foreseeable                        .

                               II.    JURISDICTION AND VENUE

       17. This civil action for wrongful death and abuse of process arises under the common law

of South Carolina between citizens of Louisiana and a corporate citizen of Delaware, with its




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principal place of business in Virginia, in which damages exceed $75,000.00. Thus, this Court has

diversity jurisdiction pursuant to 28 U.S.C. § 1332.

       18. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because a substantial

part of the events giving rise to the claims occurred in this District.

                                            III.      PARTIES

       19. Plaintiffs are the Personal Representatives of the Estate of John M. Barnett. Plaintiffs

are citizens of Louisiana, and John was also a citizen of Louisiana. See 28 U.S.C. 1332(c)(2). John

was employed by Boeing for more than 32 years and worked as a First-Level Quality Manager at

BSC for approximately seven years until his constructive discharge in March 2017.

       20. Defendant, The Boeing Company, is a corporation duly organized and operating under

the laws of Delaware with its principal place of business in Virginia. Boeing does business in South

Carolina, maintains offices and transacts business in Charleston County, South Carolina, and is listed

as active by the South Carolina Secretary of State.

                                  IV.     STATEMENT OF FACTS

A.                QUALIFICATIONS AND EXPERIENCE.

       21. John worked for Boeing for 32 years, including 17 years as a Quality Manager

(approximately seven of which were at BSC).

       22. Prior to his transfer to BSC, John worked at Boeing s Everett facilities in Everett,

Washington, where he worked as an electrician on the 747 program.

       23. John also worked as an inspector, planner, auditor, Quality Inspector, and First-Level

Quality Manager in a number of programs (including the 747, 767, 777 and 787 programs).

       24. John worked as a Quality Manager for the Everett Receiving Inspection Organization,

which had a $10 million annual budget and supported the entire Boeing Everett site.




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        25. He traveled to various countries as a Boeing Quality Representative developing,

implementing, and driving quality improvement plans with suppliers and assuring they met

Boeing s quality requirements and delivery schedules.

        26. John also traveled around the United States representing Boeing Everett in high-level

executive meetings.

        27. John took over 1,000 hours of specialized Boeing training in areas such as auditing,

production, inventory management, and communication across cultures. He had also taken college

courses at night working towards a b             degree in production and inventory control systems

with an emphasis in management.

        28. He was constantly and consistently recognized as a top performer regardless of the area

or organization. John was one of the most knowledgeable and respected Quality Managers at

Boeing, which is why he was recruited in 2010 by a Senior Quality Manager at BSC to help start

the Quality program for the new plant.

        29. John began working as a First-Level Quality Manager at BSC in November 2010.

        30. On or about January 23, 2017, John went on a medical leave of absence at the advice

of his medical provider because of the employment-related stress and emotional distress he

suffered as a result of                                and hostile work environment.

        31. Although he had planned to work at Boeing for at least another ten years, John was

constructively discharged on March 1, 2017.

B.      FAA SAFETY AND QUALITY STANDARDS AND REGULATIONS.

        32.                         quality standards and regulations require aircraft manufacturers

to document all work performed, all defects detected, and all remedial work conducted. They also

require the tracing of every part installed on an aircraft.




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        33. As a result, Boeing is required to document and trace every part of its aircraft. See 14

C.F.R. § 21.146. For the 787 program, Boeing accomplishes this through its proprietary software

system known as Velocity. The documentation contained in Velocity constitutes the build record

for each 787 aircraft.

        34.

System.

        35. Intentionally failing to document a defect in Velocity is a violation of

Production Certificate granted by the FAA under 14 C.F.R. § 21.146.

        36. Intentionally falsifying an aircraft build record is a violation of 14 C.F.R. § 43.12.

        37. Falsifying or concealing a material fact or making a materially false writing is a crime

under 18 U.S.C. § 38.

        38. As a Quality Manager, John

quality standards and regulations. John also had an ethical obligation to the flying public to ensure

the legal obligations set forth above were properly fulfilled.

        39. To comply with the law and to ensure the safety of the flying public, it is essential for

Quality Managers at Boeing to require (1) FAA safety and quality standards be strictly followed,

(2)                                            be strictly followed, (3) all violations and defects be

documented, (4) all defects be corrected, and (5) all parts be properly traced and documented. To

do otherwise violates, among other things,                               It is also important to ensure

that corners are not cut and that work is not performed in       ey areas    i.e., outside of

processes and procedures.




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C.             EMPLOYEE CORRECTIVE ACTION PROCESS REQUIREMENTS
       ENCOURAGE AND PERPETUATE FRAUD AND ILLEGAL CONDUCT AND
       FACILITATE AND ENCOURAGE A HOSTILE WORK ENVIRONMENT.

       40. Boeing has Employee Corrective Action Process Requirements                   ) designed



corrective action (ECA) per the requirements set forth in
                                                                                   2



       41.                            goal of ECA is to correct unacceptable conduct and to avoid



       42. The ECAPR defines various forms of corrective actions for various violations. Far from

acting to deter serious misconduct, these procedural guidelines impose light sanctions, such as

time off or verbal/written warnings for misconduct, which should require immediate discharge and

referral to the appropriate criminal authorities because such misconduct violates the law.

       43. In the ECAPR, Boeing lays out

This                                                                       report[ing] information

accurately, honestly, and properly;   build[ing] and maintain[ing] a safe and healthy environment

for our employees, customers, suppliers, and local communities;           adher[ing] to company

agreements, policies, and procedures;          abid[ing] by applicable laws and regulations      A

violation of these expected                                                                  being



       44. However, the real effect of the ECAPR is to provide Boeing with power to coercively

demand its employees, through the implicit creation of a hostile work environment, to place profits

over safety, and to violate the law by informing employees that they will receive little more than


2
  The ECAPR is publicly available at: https://www.speea.org/Member_Tools/Council_Rep_
Information/Training_Manual/ECAPR_04_14.pdf

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a slap on the wrist if they bow to pressure to violate safety rules. For instance, for agreeing to



        45. The following chart, based on the ECAPR, illustrates the disconnect and disparity

                    broken system                            [s] [itself] to the highest standards of

safety, quality, and integrity. 3

    OFFENSE                                 ECAPR MANDATED RESPONSE SOURCE
    Harassment that creates a hostile work               Time off            p. 7
    environment
    Touching or            physical contact   Time off and sexual harassment p. 8
                     4
    of a sexual                                      training required
    Intimidation or coercion5                             Written warning                p. 10
    Physical confrontation                                   Time off                    p. 10
    Threats                                                  Time off                    p. 11
    Foreign object debris/damage                          Written warning                p. 17
    False statements                                      Written warning                p. 20
    Falsification of records6                                Time off                    p. 20
    Inaccurate or improper processing or                  Written warning                p. 20
    reporting of information7
    Weapons or explosives                                     Time off                   p. 23
    Ethical misconduct                                        Time off                   p. 28
    Government classified material                    Verbal or written warning          p. 30
    Insider trading                                           Time off                   p. 31



3
   See Boeing, Boeing 2019 Annual Meeting of Shareholders, YouTube (Apr. 29, 2019),
https://www.youtube.com/watch?v=zzDk4dVHo4k (videotape at 2:01 2:09).
4
  Most, if not all, states would consider              physical contact of a sexual          to be a
crime (e.g., assault and battery) and result in arrest and criminal charges.
5
 Defined as an action or behavior that reasonably causes a person to be fearful for his or her well-
being, personal safety, or condition of employment and          ressuring or influencing others
against their
6
 Defined as [p]roviding false information or omitting pertinent information on records or
documents submitted to or on behalf of the company, customers, or        (emphasis added).
This is a crime pursuant to 18 U.S.C. § 38.
7
  Defined as [f]ailure to properly and accurately complete, process, or report information,
including compliance violations. (emphasis added).

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        46. Other conduct, seemingly less serious and certainly no more serious, resulted in

discharge:

   OFFENSE                                       ECAPR MANDATED RESPONSE                  SOURCE
   Sabotage                                              Discharge                        p. 14
   Theft                                                 Discharge                        p. 14
   Insubordination                                       Discharge                        p. 17
   Concealing defective work                             Discharge                        p. 20

        47.                      facilitates the continued existence of a hostile work environment that

has been allowed to thrive within the company.

        48. When employees can sexually harass others, push or shove others, engage in insider

trading, threaten others, intimidate or coerce others, carry weapons or explosives, leak government

classified material, and falsify the build record and not get arrested or immediately discharged,

there is not just an implicit but an explicit culture of concealment.

        49.           self-instituted policies and procedures for the falsification of the build record

of an aircraft, at the time of        complaints, called for time off even though the falsification of

the build record is a direct violation of federal law. See 18 U.S.C. § 38; 14 C.F.R. § 43.12.

        50. By not seriously penalizing the falsification of the build record, as well as the

intimidation or coercion of employees, Boeing opened the door for the criminal and fraudulent

conduct discussed throughout this Complaint.

        51. Therefore, Boeing helped create a hostile work environment by establishing lenient

corrective actions for conduct that constitutes a criminal violation under federal law while levying

harsh penalties for problematic (but less serious) conduct such as insubordination, which was

punished by immediate discharge.




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D.      JOHN WAS SUBJECTED TO A RETALIATORY                                  CAMPAIGN            THAT
        AMOUNTED TO A HOSTILE WORK ENVIRONMENT.

        52. During his employment at Boeing, John engaged in protected activity:

              He repeatedly objected to creating and maintaining the Multi-Function Process

                                       Program, which was not approved by the FAA and which

              allowed mechanics to inspect and approve their own work.

              He repeatedly insisted, orally and in writing, that          processes and procedures

              be followed and that defects be properly documented in the face of management

              pressure to deviate from the rules to allow Production to meet deadlines.

              He sent emails in 2012 to the BSC Director of Quality complaining about Senior

              Manager 2.

              In 2014, he filed an internal ethics complaint against Senior Manager 3.

              He refused to pencil whip 8 lost non-conforming parts.

              He complained of Foreign Object                                in the form of titanium

              slivers from e-nuts located within various areas of the aircraft with potentially

              catastrophic consequences.

              He began to investigate defective oxygen squibs and insisted that the investigation

              be completed.

              He was removed from an investigation after he found that missing and incorrect

              serial numbers were entered in the build records for parts installed on aircraft, and

              after he insisted that the build records on all delivered aircraft be corrected.




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that is not actually performed.

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              In 2016, he filed another internal ethics complaint against Senior Manager 4 for

              retaliation, for creating a hostile work environment, and for blacklisting him from

              transferring to another Boeing division outside of BSC.

       53. Boeing retaliated against John and discriminated against him in several ways because

of his ethics complaints and his refusal to compromise on safety and quality standards including,

but not limited to, the following intentional and malicious conduct:

                       Senior Quality Managers continually harassed, denigrated, and humiliated

              him, and treated John with scorn and contempt alone and in front of others.

              His Senior Quality Managers started and promulgated a rumor that John did not get

              along with his peers.

                     Senior Quality Managers downgraded                PM scores.

              One of          Senior Quality Managers issued a 60-Day Corrective Action Plan

                         against John without cause and without notifying him of the CAP until

              almost a month after it issued.

              John was removed from multiple investigations into defects because of his insistence

              that problems be fully investigated and remedied, including investigations into the

              defective e-nuts causing titanium slivers to litter the tops of flight control wires and

              equipment, defective oxygen squibs, and missing and incorrect serial numbers.

              John was blacklisted from transferring to other Quality Manager positions, including

              a position on third shift in Final Assembly at BSC, a position at

              Division in New Orleans, Louisiana, and a position at the Propulsion Division in

              North Charleston, South Carolina.

       54.



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       1.      FROM THE START, BSC                UPPER MANAGEMENT UNLAWFULLY

               PRODUCTION TO MEET DEADLINES.

       55. John was recruited in 2010 by a Senior Second-Level Quality Manager

              at BSC to help start the Quality program for the new plant.

       56. Senior Manager 1 pushed the Quality Managers under his supervision to strictly follow

FAA safety and quality standards and regulations

procedures.

       57. However,          upper management pushed the Quality Managers to deviate from the

rules to allow Production to meet deadlines.                                                 and

its own company values.

       58. In particular, BSC     upper management implemented the Multi-Function Process

                              , where mechanics were given authority to inspect and approve their

own work.

       59. The MFPP Program was executed without FAA approval and violated

Production Certificate granted by the FAA under 14 C.F.R. § 21.146.

       60. When Senior Manager 1 objected to implementation of the MFPP Program and insisted

that Boeing not deviate from the rules, he was threatened with termination. So, in 2012, Senior

Manager 1 transferred back to Washington with a demotion to avoid termination.

       61. John vocally supported                          position that the MFPP Program was

unlawful and that FAA safety and quality standards and regulations

processes and procedures, should be strictly followed.

       62. Throughout           tenure at BSC, he refused to deviate from the

quality standards and regulations and           own processes and procedures.

       63. As a result,        upper management retaliated against John.

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       2.      JOHN WAS MOVED TO SECOND SHIFT IN RETALIATION FOR HIS
               COMPLAINTS AGAINST SENIOR MANAGER 2.

       64. In 2012,                                            was appointed as his second Senior

Second-Level Quality Manager                          ) to replace Senior Manager 1, and he began

pushing John to violate            processes and procedures.

       65. That same year, John emailed the BSC Director of Quality twice, complaining that

Senior Manager 2 was pushing him and his inspectors to deviate from processes and procedures.

The BSC Director of Quality told John that he did not believe him, so no investigation was

conducted.

       66. John continued to insist the proper procedures be followed.

       67. John then learned about numerous instances where parts were taken from one airplane

and installed on another airplane without any documentation, traceability, or engineering review.

John took steps to stop this practice.

       68.            pper management ignored this problem and insisted that John stop

documenting the issue in emails and on corrective action                                     EPDs .

All corrective action EPDs for transferred parts were cancelled per

direction without any investigation or corrective action.

       69. In October 2012, Senior Manager 2 publicly denigrated John in front of his team and

moved him to second shift in retaliation for insisting that proper procedures be followed.

       70. In response,         team submitted an internal ethics complaint against Senior Manager

2 for his conduct.

       71. In June 2013, Senior Manager 2 was demoted and removed from management for his



       72. Nothing was done to remedy the retaliatory action taken against John.



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       3.      JOHN WAS SUBJECTED TO A HUMILIATING PATTERN OF
               RETALIATORY ACTION BY ANOTHER MANAGER.

       73. In or around July 2013, a new manager was appointed as            third Senior Second-

Level Quality Manager                          , and he immediately separated and reassigned the

members of          Quality team in retaliation for the ethics complaint against Senior Manager 2.

       74. Following in                         footsteps, Senior Manager 3 continued to subject

John to a gaslighting9 campaign in retaliation for        refusal to violate the safety and quality

standards, regulations, processes, and procedures.

       75. John was continually harassed, denigrated, humiliated, and treated with scorn and

contempt by BSC upper management.

       76. For example,           Quality team had weekly meetings. During these meetings, Senior

Manager 3 announced several times that John was responsible for a production delay or for the

team having to work overtime away from their families.

       77. When John questioned decisions that violated safety and quality standards, regulations,

processes and procedures, Senior Manager 3 raised his hands and waved them around in an

animated manner to imitate John and mockingly stated

the air or do you have an idea.

       78. These comments were the result of            documentation of process and procedure

violations, documentation of defects, and his refusal to conceal problems. The comments were

disrespectful, denigrating, sarcastic, degrading, humiliating, mean, and unprofessional.



9
 The Merriam-Webster dictionary defines Gaslighting
of a person usually over an extended period of time that causes the victim to question the validity
of their own thoughts, perception of reality, or memories and typically leads to confusion, loss of
confidence and self-esteem, uncertainty of one s emotional or mental stability, and a dependency
                     Gaslighting, Merriam-Webster, https://www.merriam-webster.com/
dictionary/gaslighting (last visited Mar. 18, 2025).

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       79. These retaliatory attacks continued throughout         time at BSC.

       80. John never saw this type of behavior displayed towards other managers or employees.

       81. This campaign against John was to punish him for identifying problems, insisting on

compliance with the rules, and documenting all process and procedure violations and defects. It

was also done publicly to discourage John from continuing to report and document defects and to

discourage others from supporting him or following his example.

       82. The denigrating comments caused John enormous stress, making it difficult for him to

concentrate and perform his job.

       4.              PERFORMANCE     MANAGEMENT                           SCORES        WERE
                DOWNGRADED IN RETALIATION.

       83. PM scores determine yearly raises, bonuses, eligibility for transfer to other Boeing

divisions, participation in special leadership teams, and other perks for top performing managers.

       84. After John vocally supported Senior Manager 1 regarding the MFPP Program and

demanded that Boeing adhere to FAA safety standards and regulations and

processes and procedures, Boeing retaliated against John by giving him lower PM scores, which

continued throughout the remainder of his tenure at BSC.

       85. In         July 2014 PM review, Senior Manager 3 explained that John was very

knowledgeable but that his knowledge got in the way because John liked to be correct and raised

concerns that had already been resolved.

       86. As part of that review, Senior Manager 3 faulted John for not timely completing a

performance review for one of the employees under               supervision, even though Senior

Manager 3 told the other supervisors (but not John) that the due date for the performance reviews

had been accelerated. Senior Manager 3 intentionally withheld information from John about the

new due date.



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          87. One example of a concern that John insisted on correcting was about Manufacturing

push to use a spreadsheet in place of writing Emergent Removals ( ERs ) for products removed

from an aircraft after installation and inspection.

          88. Per Boeing     Process Instruction           , ERs are required for each part removed

from an aircraft after its final quality inspection and approval. Quality must determine whether the

part removal would interfere with any FAA conformity inspections previously completed. If so,

Quality was required to contact the FAA prior to removing the part to put the FAA on notice and

to determine whether the part removal will void                 conformity inspection.

          89. While a spreadsheet may be used to document build information in some

circumstances, there are specific procedures that must be followed under Boeing          Procedures to

ensure that, in the event of a catastrophic failure, the            build record is traceable and there

is accountability for all parts.

          90. John was asked to approve the use of a spreadsheet for ERs for Line 172,10 and he was

told that a spreadsheet had been used in place of ERs on Line 168. John had been advised by

Manufacturing that at least 25 parts had been removed for Line 168. He discovered that the

spreadsheet for Line 168 was purposefully left blank and did not comply with the BPIs, nor did it

provide traceability of part removals.

          91. John was pressured by Manufacturing to use a spreadsheet instead of ERs because that

was how it was done on Line 168. John warned that this was not the proper process. After being

urged by Senior Manager 3 to use the spreadsheet, John explained that he did not agree with using

the spreadsheet because it did not follow procedure. John then elevated the issue of Line 168

noncompliance, but no action was taken to correct the flawed documentation.



10
     Boeing refers to each aircraft as a line number, so Line 172 is the 172nd 787 aircraft being built.

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       92.         PM score was downgraded because he continued to complain that build records

were not properly completed and maintained. John was also penalized on his PM reviews for

documentation of process and procedure violations in emails.

       93. In June 2014, John submitted an internal complaint to Corporate Ethics against Senior

Manager 3

John to work in the                                                    John.

       94. One month later, in retaliation for his complaint, Senior Manager 3 downgraded

PM score and penalized John for not working in grey areas of procedure, for documenting

process violations, and for not agreeing to allow Manufacturing to approve their own work    even

though allowing them to do so would violate processes. The downgraded score was also based on

false rumors started by upper management that John did not have a good relationship with his

peers. When Senior Manager 3 learned that John

regarding his PM score, Senior Manager 3 threatened to pull and read           emails.

       95. In         July 2014 PM review, he received a score of 2 out of 5 in a category about

improvement opportunities as a result of documenting problems. John was faulted for following

                             In particular, John was instructed to learn how to engage in face-to-

face communication when following up on concerns rather than through written emails.

       96. In response to                     review, John inputted a comment to his review and

addressed the need for documentation of process violations and a lack of

processes.

       97. On September 11, 2014, Senior Manager 3 once again chastised John for documenting

process issues and explained that using emails to discuss issues was one of the reasons his PM

score was lower.




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        98. Senior Manager 3 and other Senior Quality Managers continued to pressure John to

work in grey areas and to avoid documenting process violations in writing.

        99. As stated previously, Boeing upper management started rumors that John did not get

along with his peers and used this as a further basis for downgrading his PM scores.

        100. John continued to be penalized, and his PM scores were wrongfully downgraded

throughout his time at BSC because of his refusal to compromise and work in the grey areas, his

insistence that defects be documented, and his adherence to FAA standards and regulations as well

as

        5.     JOHN WAS WRONGLY ISSUED A 60-DAY CORRECTIVE ACTION
               PLAN IN RETALIATION.

        101. On September 12, 2014, John was advised that Senior Manager 3 had issued a 60-

Day Corrective Action Plan11            against him for documenting process violations and was

told that his manager would provide John with a copy.

        102. In fact, the CAP was issued about one month earlier on August 15, 2014, but John

was not made aware of it until September 12, 2014         a violation of                 , which

specifically require that any individual who is the subject of a CAP be notified immediately.

        103. On September 13, 2014, John finally received a copy of the CAP from Senior

Manager 3.

        104. Once again, John was criticized for not communicating via face-to-face or phone call

to resolve concerns and was instructed to stop using emails to emphasize concerns or discuss

quality requirements.




11
   The 60-Day Corrective Action Plan is used to document deficiencies
performance and if those deficiencies are not corrected in 60 days, the employee, in almost all
cases is terminated, typically losing all retirement benefits, pensions and health insurance.

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        105. On September 15, 2014, John wrote an email to himself about the CAP and noted the

untimely notice, calling it a                  H                                              -mail

so they maintain plausible deniability. H



        106. Additionally, the CAP referenced a discussion between John and Senior Manager 3

on September 9, 2014. But John was not made aware of the CAP until September 12, 2014.

Therefore, it was impossible for John and Senior Manager 3 to have discussed the CAP on

September 9, 2014.

        107. John met with BSC      Ethics Manager and complained about being placed on a 60-

Day CAP based on false information and misrepresentations and because he was not timely

notified.                         explained he could not do anything because it was an HR matter.

        108. John emailed BSC      Vice President of Quality asking for a short meeting to discuss

his concerns with his upper management. John never received a response or acknowledgement.

        6.     JOHN WAS REMOVED FROM INVESTIGATING FOREIGN OBJECT


        109. It takes 20,000 fasteners to secure the passenger deck floorboards to the 787 aircraft

frame. These fasteners are composed of titanium bolts and e-nuts. In August 2014, John discovered

that when the fasteners were tightened, they produced razor sharp titanium slivers up to 3 inches

long, which dangled and fell onto bundles of thin-walled flight control wires, electrical boxes, and

electronic components located between the floor panels and cargo compartment ceiling panels, as

well as above the center fuel tank area containing wires and electronic equipment.

        110. John was aware of a number of commercial aircraft disaster investigations in which

passenger planes crashed because of electrical shorts.




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              One catastrophe that is well known to Boeing occurred on September 2, 1998, when

              Swissair Flight 111, a McDonnell Douglas MD-11 bound for Geneva, Switzerland,

              crashed off the coast of Nova Scotia, Canada. The investigation found that the most

              likely cause was an entertainment wire above the cockpit that shorted out and caused

              a fire. The pilots smelled smoke and called the closest air traffic control for

              emergency clearance to land. The fire quickly spread, and the cockpit was engulfed

              in flames when the plane crashed approximately five miles off the coast.

              Another disaster well known to Boeing occurred on July 17, 1996, when TWA

              Flight 800, a 747 bound for Paris and then Rome, crashed off the coast of Long

              Island, New York. The investigation revealed that the explosion was most likely

              caused by a short in the wires to a fuel sensor in an empty fuel tank.

       111. John was concerned that the razor-sharp titanium slivers would work their way

between the bundles and                                                  or cause a fire.

       112. Further, while the titanium slivers, referred to as FOD, could be cleaned under the

deck if done meticulously, there are areas of the plane that are inaccessible, such as above the

center fuel tank. Based on his concerns, John internally communicated that the problem needed to

be fixed and the FOD needed to be completely removed.

       113. When John sought to have the FOD issue investigated, Senior Manager 3 ordered him

to stop because it would be too costly to remove and clean all the ceiling panels, and it would risk

damaging the ceiling panels during removal. John strongly disagreed and insisted that the panels

be removed and the electrical components be cleaned to eliminate the risks of electrical shorting.




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       114. John was removed from the investigation, and another employee was put in charge.

BSC    upper management let the FOD remain rather than removing the cargo ceiling panels or

cleaning the FOD.

       115. John later filed a whistleblower complaint with the FAA, which inspected the titanium

slivers on surfaces below the passenger deck. The FAA ordered Boeing to clean the FOD from the

aircraft still at the factory, vindicating         concerns. But it remains unclear whether the

inaccessible areas above the center fuel tanks were cleaned or what was done for the hundreds of

aircraft previously delivered.

       116. John was deeply concerned and experienced nightmares that his complaints had been

ignored and that the titanium slivers remaining on previously delivered 787 aircraft posed a threat

to the flying public.

       117. In the AIR21 litigation, John requested that Boeing produce records documenting

what action was taken, if any, to remedy the titanium slivers problem. Boeing refused to produce

these records despite the court ordering Boeing to do so on three occasions. Following

tragic death, the court sanctioned Boeing for its intentional failure to produce these records.

       7.      JOHN WAS ASSIGNED TO THE MATERIAL REVIEW SEGREGATION


       118. In February 2015, John was reassigned to MRSA, which made him report to a new,

fourth Senior Second-Level Quality Manager                            .

       119. As John packed his desk before relocating to MRSA, Senior Manager 3 told John that

he could not believe that John

be ashamed because it                     o




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        120. At MRSA, John became responsible for handling lost non-conforming part Shop

Order Instance12          closures.

        8.      EVEN   AFTER                         RETALIATION          COMPLAINT           WAS
                SUBSTANTIATED
                RETALIATE AGAINST HIM.

        121. In April 2015, John received an email from                            stating they had

substantiated         complaints from June 2014 and informed him they had opened a second

investigation against Senior Manager 3       related behaviors

        122. John provided HR with emails and other documents to support his complaint about a

hostile work environment, the ambush of the 60-Day CAP, the misrepresentations and false

information in the 60-Day CAP, and his punitive reassignment by the person against whom John

filed a complaint.

        123.         upper management continued to set John up for failure. For example, in July

2015, John was informed that some of his team had been reassigned without his knowledge. This

left areas over which John had responsibility unsupported and without the necessary critical skills.

        124. Multiple complaints were submitted by Manufacturing against John for a lack of

support.

        9.      JOHN WAS UNLAWFULLY ORDERED TO COVER UP LOST PARTS.

        125. While at MRSA, John learned that Manufacturing Managers were provided keys to the

MRSA cage, which was where defective, scrapped, or non-conforming parts were kept. He also

learned that the managers and leaders were illegally taking the defective and scrapped parts without



12
   SOIs are the instructions for the build process on the airplane. Each SOI contains everything one
needed to know to complete a specific operation. When the operation is bought off, or approved,
by both Manufacturing and Quality, the SOI is closed. If it is not bought off, work can be
transferred to an NCR. The electronic work instructions in Velocity are electronically stamped



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any documentation and installing them on aircraft. Non-conforming parts and defects were required

to be documented through Non-Confirming Reports              ).

        126. John had the locks to the MRSA cage changed as a result, but BSC Quality Management

had new keys made and distributed.

        127. FAA regulations call for lost parts to be reported to the FAA. But for hundreds of parts

that somehow disappeared from the MRSA cage, the NCRs disappeared as well and were considered

lost.

        128. When John was ordered to sign off on the NCRs without conducting a full investigation

and without disclosing the issue to the FAA, he refused.

        129. Ultimately, Boeing found another Quality person to pencil whip the paperwork related

to these non-conforming parts.

        10.     JOHN FILED A SEPTEMBER 2016 ETHICS COMPLAINT AGAINST
                SENIOR MANAGER 4 FOR PROCESS AND PROCEDURE VIOLATIONS.

        130. John remained concerned that the defective and scrapped parts that were placed onto

new aircraft could result in a catastrophic event.

        131. For example, in September 2016, Senior Manager 4 removed an oxygen tube from the

scrap bin and gave it to Manufacturing for installation on an aircraft without any documentation,

rework, or authority, which violated FAA requirements.

        132. Not only did                                                                        but

it also created a risk of a catastrophic event. Oxygen tubes come hermetically sealed to prevent them

from contamination, which could cause an explosion when oxygen flows through the tube. The

oxygen tube that Senior Manager 4 used was damaged and highly contaminated as a result of being

placed in the scrap bin.




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       133.        team tried to stop Senior Manager 4 and reported the violation to John, who then

made a complaint to HR. Ethics contacted John about his report to HR, and he provided information

and documentation of the incident.

       134. In July 2016, John was given two                                          -conforming

part SOIs without investigating them. John had discovered close to 200 SOIs that had already been

 pencil whipped and closed out by another group without investigation.

       135. John strongly objected and pressed upper management to report their investigations.

He was ordered to stop, which would have required him to violate FAA regulations regarding

documenting and reporting lost parts to the FAA. Moreover, the lost non-conforming parts



and procedures, when followed, do not allow parts to be lost.

       136. As with the titanium slivers, John reported the lost parts to the FAA, which

corroborated his complaint.

       11.     JOHN WAS REMOVED FROM THE INVESTIGATION OF DEFECTIVE
               OXYGEN SQUIBS IN RETALIATION.

       137. As with all modern commercial aircraft                                    that provide

safety and comfort to the passengers are installed above the passenger seats. The 787 PSUs include

emergency oxygen masks that are released in the event of a decompression event at high altitudes

and also emergency oxygen tanks with squibs that release the oxygen into the mask when activated.

       138. In August 2016, MRSA was tasked with scrapping a number of PSUs, which required

the oxygen tanks to be emptied. During this project, John became aware that the squibs in the

oxygen tanks were defective and failed to activate and release oxygen as expected. John was

criticized for documenting this issue.




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        139. In September 2016, after John had placed the defective squibs (that were removed

from the oxygen bottles) in quarantine and pushed upper management to have them analyzed, John

was removed from the investigation.

        140. John subsequently learned that Boeing had done nothing to investigate further.

        141. John had reported the defective oxygen tank squibs to the FAA. These squibs acted as

a firing mechanism to trigger the release of oxygen from the oxygen tank and into the masks.

        142. Boeing misrepresented to the government investigators that          complaint was that

the oxygen tanks installed on the 787s were empty.13

        143. Because of                                   he FAA checked whether empty oxygen

bottles had been installed on the aircraft and whether the empty bottles in the MRSA were marked as

scrap with red ink or paint.

        144. The FAA determined the empty oxygen tanks should have been labeled with more

prominent markings identifying them as non-conforming products.

        145. On December 13, 2017, John wrote to the FAA and explained the circumstances of

his complaint and why he remained concerned. In his letter, John stated:

        It appears that the oxygen issue was not identified properly nor investigated. Next
        is a quick history that explains my concern.
                                               ...
        There were an additional 200 PSU panels and oxygen bottle assemblies quarantined
        in MRSA [August 2016] for failure analysis and testing. I am aware the local FAA
        located the 200 oxygen bottles and panels in MRSA due to my initial complaint,
        but only wrote them up for not being marked correctly for scrap, they missed the
        fact that they were the ones set aside for failure analysis. No action has been taken
        to determine why the squibs are failing and no actions have been taken to insure
        the flying public is safe.

        My concern is that Boeing has had data for over a year that shows 25% of the
        emergency oxygen bottles currently in service will not operate in the event of an


13
  BSC Quality Management has provided various excuses as to why they have failed to perform
the failure analysis on the defective squibs.

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       emergency. So far it has been ignored and gone unaddressed. I feel it is imperative
       the defective squibs not go unaddressed any longer. I wanted to make you aware of
       my concern in hopes that you can help drive the appropriate actions to assure the
       aircraft being delivered and those that have already been delivered are safe.

       146. In a January 13, 2017 email, John explained to Senior Manager 4 why he was so

concerned about the defective squibs:

       I have a serious safety concern I feel needs to be addressed. As you know, last year,
       we discovered that the oxygen bottles that were being removed from the airplanes
       (due to the PSU panel damages) were showing a 25% failure rate when they were
       being discharged for scrap. I had taken numerous steps to define root cause and
       determine if the failure rate was indeed accurate or if there were other causes for
       the failures. As you recall, the investigation was turned over to QAI for continuation
       and root cause analysis. To date, I have not seen much action on this issue and the
       investigation seems to have stalled. We still have over 200 oxy bottles in our area
       that are slated for defect analysis, but as I said, the investigation seems to have
       stalled. The oxygen bottles are still in our area. I believe it is imperative that the
       proper resources are dedicated to this issue to determine if there is actually a failure
       rate with the squibs on the bottles. These oxygen bottles are the ones that would
       supply oxygen to the passengers in the event of decompression and or the pilots

       of having functioning oxygen supply in the event it is needed. I urge you to please
       take action to get the investigation moving forward, the root cause identified, and
       if founded, we need to take the necessary actions to assure our fleet and the flying
       public are safe.

       I am more than willing to get re-involved to help drive the root cause and take the
       necessary steps. Let me know how I can help.

       147. John remained deeply concerned and experienced nightmares that his complaints had

not been adequately addressed and that the defective squibs posed a threat to the passengers flying

on the 787 aircraft.

       148. In the AIR21 litigation, John requested that Boeing produce records documenting

what action was taken, if any, to remedy the problem with defective squibs. Boeing refused to

produce these records despite the court ordering Boeing to produce the records on three occasions.




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        149.                                                            concerns, which were further

magnified when a door plug blew out of an Alaska Air 737 MAX, causing a decompression event

during which a number of oxygen masks failed to work.

        150. Following           death, the court sanctioned Boeing for its intentional failure to

produce these records.

        12.    JOHN WAS REMOVED FROM HIS INVESTIGATION INTO MISSING
               AND INCORRECT SERIAL NUMBERS ENTERED IN BUILD RECORDS
               FOR PARTS INSTALLED IN THE AIRCRAFT.

        151. FAA regulations require that serial numbers for all parts installed on aircraft be

accurately recorded in the build record for each aircraft. In the event of a recall, this would allow

the recalled parts to be identified and replaced. In the event of a catastrophic failure, this

requirement would allow crash investigators to determine the cause of the failure by examining

          manufacturing and installation history.

        152. On August 18, 2016, John was assigned to lead a Serial Number FAA Audit Response

Team which was tasked with conducting a Serial Number Audit to determine whether serial

numbers were accurately entered into build records, and if not, to identify the cause and the actions

needed to correct the problem                      detailed problem-solving method.

        153. In September 2016, after finding that serial numbers were not accurately entered into

the build records for all previously delivered aircraft built at BSC, John stated that the build records

on all delivered aircraft needed to be corrected and that BSC customers needed to be notified of

the problem so that they could address it.

        154. In response, John was removed as the Serial Number FAA Audit Response Team

Leader.

        155. John reported the serial number problem to the FAA.




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       156. Boeing failed to notify its customers about the problem. In addition, Boeing

misrepresented to the FAA that no such problem existed. As a result, the build records for many,

if not all, 787 aircraft contain parts with incorrect part numbers in violation of FAA regulations.

       13.               SENIOR MANAGER TRIED TO PUSH HIM UNTIL HE BROKE.

       157. One example of the retaliation and abuse John suffered for reporting safety issues at

Boeing was highlighted by the Permanent Sub-Committee on Investigations of the U.S. Senate

Committee on Homeland Security & Governmental Affairs in a hearing concerning

 Broken Safety Culture on June 18, 2024. See supra ¶ 10. As Senator Blumenthal found, Senior

Manager 4 had called John 19 times within an 8-hour period in late October 2016, and then 21 times

within 8 hours a few days later because he intended to push [him] until [he] br[oke]

       158.                                                  conduct, Senator Blumenthal stated to

                                                                  John] broke

       14.     JOHN WAS BLACKLISTED AND BLOCKED FROM TRANSFERRING
               TO OTHER DIVISIONS AND POSITIONS OUTSIDE OF BSC IN
               RETALIATION.

               a.      QUALITY MANAGER POSITION ON THIRD SHIFT IN FINAL
                       ASSEMBLY

       159. In September 2014, during a morning meeting with all first-line managers, a second-

level manager announced they had a third-shift Quality Manager position becoming available and

were looking for volunteers. The second-level manager stated they would select the individual

with the most experience in BSC Final Assembly, and in the event of a tie, they would select the

employee with the most time at Boeing.

       160. John immediately volunteered for the position.




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          161. Another manager spoke up and stated that John had the most time with Boeing and

had been in Final Assembly since day one, so he should have the job. The second-level manager

agreed.

          162. John was then denied the position by a different Senior Quality Manager in retaliation

for his complaints. Instead, this manager gave the position to another employee who had been with

the company far less time than John.

                 b.      QUALITY
                         DIVISION IN NEW ORLEANS, LOUISIANA

          163. In March 2016, John applied for a Quality Manager p

Division in New Orleans, Louisiana.

          164. In August 2016, after a telephone call, John was notified that he had passed the first

phase and was one of two finalists for the position. He was invited by the hiring manager to New

Orleans for an in-person interview.

          165. During the in-person interview, John spoke with the NASA Director, other Quality

Managers, and the Quality Team. During each conversation, John successfully addressed each



          166. At the conclusion of the interview, the hiring manager informed John that his expertise

was a perfect fit for the needs of the position and that he would be a great asset to the team.

          167. Despite this, John was later informed that he did not obtain the job.

          168. John informed Senior Manager 4 about the results of his interview, and his reaction

implied to John that someone in upper management had yanked the job out from under him.

          169. While the hiring manager later told John

           had initially told John that he had precisely the skills they were looking for. And when




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the position was re-posted, the job description and qualifications were exactly the same as the

initial posting    there was no change in the skills needed.

         170. During                        an HR representative claimed that the job had to be

handled by someone with government c                              But as explained above, the job

description and qualifications did not change in the re-posting, which failed to state that

government contract experience was a requirement. In fact, the job postings were identical, except

for changing the position to     second shift.

         171. Boeing has disputed that John was retaliated against and has provided a slew of

contradictory reasons as to why John was not hired for the position in the Aerospace Division.

         172. Boeing claimed that                                                   , but the hiring

manager neglected to place that qualification in the initial job posting. Whether a manager is first,

second, or third shift should not matter. John was ready, willing, and qualified to work on any

shift.

                  c.       QUALITY MANAGER POSITION AT THE PROPULSION
                           DIVISION IN NORTH CHARLESTON, SOUTH CAROLINA

         173. In January 2016, BSC internally circulated an email containing a job opening for a

Quality Manager position at the Propulsion Division in North Charleston, South Carolina.

         174. This position did not go through the standard hiring and interviewing process, but

                       -          , meaning there was no job requisition posted on the Boeing

Employment page. Instead, the hiring decision was handled via email with no interview process

and no documentation or other evidence to support the hiring decision. No-post jobs are handled

in secrecy, behind closed doors, and with no transparent oversight of how decisions are made.

         175. John immediately replied expressing his interest in the position and attached his

resume.



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       176. On or around October 2016, the hiring manager for this position asked two Propulsion

Quality Managers to select their top three candidates out of an extensive list of names. Both Quality

Managers selected John as the first applicant on the list, indicating their desire to work with him

because of his expertise and skill set. Their final decision was to hire John.

       177. A ter requesting John through the Quality Skill Team, the hiring manager was told that

                                                                             A Boeing employee in

Propulsion was also



       178. Boeing claims that John was deemed ineligible from the Propulsion job because of

his low PM scores and other metrics. However, these low scores and metrics were punitively



procedures. In other words, but for John       whistleblowing activities, he would not have been

excluded from the job.

       15.     JOHN MADE AN OCTOBER 2016 ETHICS COMPLAINT AGAINST
               UPPER MANAGEMENT FOR RETALIATORY CONDUCT.

       179. In October 2016, John filed an internal complaint against his upper management with

Boeing Corporate Ethics department at its headquarters in Chicago, Illinois for retaliation, a hostile

work environment, and the fact that he was blacklisted and blocked from other positions. He

requested that his complaint be investigated by personnel outside of BSC. After assurance that it

would be handled outside of BSC, the investigation was nonetheless carried out by               local

HR.

       180. Later that month, John emailed the Vice President of Boeing Corporate Ethics in

Washington D.C. and voiced his concerns about how his complaint was handled. The Vice




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President of Boeing Corporate Ethics assured John that his concerns would be properly

investigated. Even so, it was once again turned over to local HR for BSC.

        181. BSC failed to conduct an adequate investigation.

        182. On January 5, 2017, John was informed that his ethics complaint about being blocked

from the New Orleans and Propulsion jobs

complaints involving the hostile work environment and retaliation were not investigated.

        183. On January 13, 2017, John was notified that his name was on a list of managers to be

laid off.

        184. On January 16, 2017, John filed a complaint through the AIR21 program with OSHA

                                                                           and also for maintaining a

hostile work environment and blacklisting and blocking him from transferring to other Boeing

divisions.

        16.               MENTAL STRESS CAUSED HIM TO GO ON MEDICAL LEAVE.

        185. On January 17, 2017, John was seen by a board-certified physician assistant after visiting

the emergency room for chest pain. He reported high stress from work and worried that filing an

AIR21 action would end his career. His medical record shows that John had been taking prescription

medications for anxiety and depression since February 2016.

        186. On January 23, 2017, John had a follow-up appointment with his physician assistant

because he was still experiencing high stress at work and an exacerbation of his medical conditions.

        187. That same day, John went on a medical leave of absence at the advice of his medical

provider because of the severity of his stress-related conditions due to

        188. From February 2, 2017 to February 16, 2017, John was seen by a mental health counselor

for symptoms of depression and severe anxiety. He reported feelings of sadness, hopelessness, sleep

disturbances with nightmares, and an overwhelming sense that something bad was going to happen.

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He feared further retaliation for reporting his complaints to OSHA and the FAA. He continued to fear

that people would die due to improper work on the assembly line at Boeing. His fears were heightened

as a result of the plane crashes and accidents that he already witnessed related to the same quality

issues he had identified. He expressed feelings of survivor guilt for being unable to convince Boeing

to prevent these tragedies.                                  diagnosed him with PTSD.

          17.     JOHN WAS CONSTRUCTIVELY DISCHARGED FROM BOEING.

          189. Knowing he was going to be terminated, John took an early retirement on March 1, 2017,

due to his employment-related stress, as a result of being subjected to a retaliatory hostile work

environment.14

          190. After leaving Boeing, John moved back to Louisiana to be near his family.

          191. From 2017 until his death, John continued to suffer from PTSD, with symptoms of

depression, stress, anxiety and panic attacks, and nightmares about planes falling from the sky. He

spoke about these worries with his brothers and conducted media interviews.15 John feared that the

issues he had complained about while working at BSC had not been resolved and would someday

result in a catastrophic event. His fears were soon realized.

          192. On October 29, 2018, a Lion Air 737 MAX crashed off the coast of Indonesia, killing

189 people.



14
     John had planned to work at Boeing for at least another ten years.
15
   John
2019, John was awarded The Joe A. Callaway Award for Civic Courage. See Mark Worth, Boeing
787 Whistleblower Mitch Barnett Honored by Ralph Nader, LinkedIn (Nov. 6, 2019),
https://www.linkedin.com/pulse/test-mark-worth?trk=public_post_feed-article-content. John was
also post-humously awarded the Blueprint North America Whistleblowing Prize for 2024. See
2024 Blueprint North America Whistleblowing Prize, Blueprint for Free Speech,
https://www.blueprintforfreespeech.net/en/prize/recipients/2024/boeing-whistleblowers;
Blueprint for Free Speech Whistleblower Prizes 2024, Byline Times (Dec. 5, 2024),
https://byline.tv/video/blueprint-for-free-speech-whistleblower-prizes-2024/.

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        193. On March 10, 2019, an Ethiopian Air 737 MAX crashed shortly after taking off from the

airport in Ethiopia, killing 157 people.

        194. The U.S. House Committee on Transportation and Infrastructure investigated the Boeing

737 MAX crashes, and it released a Final Report on September 15, 2020, wherein it enumerated five

central themes concerning the 737 MAX failures. Of these, the Committee noted that Boeing engaged



                               And the Committee noted



        195. On January 5, 2024, a door plug blew off an Alaska Airlines 737 MAX while the plane

was at approximately 16,000 feet, causing a depressurization event that forced the pilots to make an

emergency landing. Immediately upon depressurization, the force ripped a                shirt off and

sucked oxygen, debris, and cell phones out of the plane. Other interior parts of the plane were also

damaged. Some of the passengers suffered physical injury and all implicitly suffered emotional injury

and trauma.

        196. Reports claim that the door plug blew out because of undocumented work, which

violated processes and procedures required by law, and that some of the emergency oxygen masks

did not work.16

        197. Following this event, the FAA found that the door plug blowout resulted from

                                                        The FAA subsequently conducted a major



16
   See David Shepardson, Boeing Unauthorized 737 Work Issue Should Have Been Caught Years
Earlier, NTSB Says, Reuters (Aug. 7, 2024, 7:27 PM), https://www.reuters.com/business/
aerospace-defense/us-safety-board-scrutinize-faa-oversight-boeing-2024-08-07/; Pete Syme,
Alaska Airlines Passengers Were Hit in the Face By Debris, Struggled with Oxygen Masks, and
One Had a Seizure After Landing, Lawsuit Says, Bus. Insider (Jan. 19, 2024, 7:58 AM),
https://www.businessinsider.com/alaska-airlines-passengers-hit-by-debris-faulty-oxygen-masks-
lawsuit-2024-1.

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                                                                 that Boeing failed to comply with

manufacturing quality control requirements.

        198. These incidents only increased            stress because he was aware of the process and

procedure violations on the 787 aircraft and remained deeply concerned that the quality defects he

reported to the FAA, including the defective e-nuts that resulted in sharp titanium slivers falling on

wires below and the defective oxygen tank squibs, had not been adequately addressed.

        199. Boeing knew that John remained deeply concerned. Despite being ordered by the AIR21

Administrative Law Judge on three occasions to produce all records that would have informed John

what action had been taken to remedy the defects he had documented, Boeing refused to produce

responsive documents.

        200. Following the two 737 MAX crashes and the 737 MAX door plug blow out, and because

he knew that processes and procedures at BSC were ignored, that defects were not properly

documented, that serious defects had not been addressed, and as a result of Boeing preventing

co-worker friends from having any contact with him,           PTSD symptoms were exacerbated after

the two 737 MAX crashes and the 737 MAX door plug blow out, because John knew that processes

and procedures at BSC were ignored, because defects were not properly documented, because serious

defects had not been addressed, and because Boeing prevented           co-worker friends from having

any contact with him. As a result, he suffered additional depression, anxiety, and panic attacks.

        201. While in Charleston for his deposition, John contacted two close friends who were still

working at Boeing because he was scheduled to get together with them during that time. The friends

cancelled and told John that Boeing advised them to have no contact with him. This was an example

                                                                                               with or

talking to John.




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        202. On March 4, 2024, John was seen again by his same mental health counselor. He reported

ongoing nightmares involving people dying in airplanes. He continued to exhibit symptoms of PTSD:

anxiety, sadness, fear of impending deaths of others, and intrusive thoughts. In her notes, the mental

health counselor stated:

        3/4/24 Client seen at request of attorney Robert Turkewitz. Client is in legal
        procedures w/former employer (Boeing) and Mr Turkewitz is his attorney. Client
        continues to take an antidepressant for his anxiety but reported anytime he must
        engage with legal case he experiences increased anxiety. Has a call into PCP for
        increase of meds. Had client briefly review life events since we last met before
        focusing on current anxiety. Client reported ongoing nightmares involving people
        dying in airplanes. He reporte
        this. Reported these increased w/recent incident of door not being properly secured
        and blowing off plane while in the air. Client discussed feelings of anticipatory grief
        of loss of life due to poor adherence to production regulations of former employer.
        Client continues to exhibit sxs of PTSD: anxiety, sadness, fear of impending death of
        others and intrusive thoughts.

        203. On March 7, 2024, and March 8, 2024, John gave deposition testimony in Charleston,

South Carolina for his AIR21 litigation.

        204. On the morning of March 9, 2024, John was scheduled to finish his deposition testimony

but failed to show. John was later found dead in his truck in the parking lot of his hotel. John went

out to his truck at about 8:45pm on March 8. Exhibit B, at 37; Exhibit C                          , at 2.

                                                                                           d that John

spent the entire night in his truck and never left. Exhibit B, at 37; Exhibit C, at 2. The police and

                                                        -inflicted gunshot wound to the head. Exhibit

B, at 51; Exhibit C, at 2.

        205. John left a note, which is above in this Complaint, that demonstrates the retaliation,

harassment, and maltreatment he experienced at the hands of Boeing caused his PTSD, which, in turn,

caused his suicide and untimely death.




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         206. Boeing is responsible for          wrongful death, as it was

hostile work environment and failure to address his quality concerns for seven years would cause

John to suffer from PTSD, severe stress, anxiety, and depression, which are all well known to be

associated with an increased risk of suicide.

         207. Further, after        constructive discharge, Boeing knew John was deeply concerned

about the defects he documented, some of which he reported to the FAA, and that he continued to

suffer from PTSD, severe stress, anxiety, and depression. It was foreseeable that by intentionally

withholding information about how these concerns that John raised were addressed and by preventing

         friends from having any contact with him, it would cause John to suffer further mental distress

and exacerbate his PTSD.

         208. The hostile work environment, retaliation, gaslighting, social isolation, devaluation of

his work, disrupted sense of purpose, bullying, and blocking potential for professional growth all

caused          PTSD, anxiety, panic attacks, and depression, which in turn caused his suicide.

E.       OTHER   BOEING               WHSTLEBLOWERS               HAVE        ALSO        SUFFERED
         RETALIATION.

         209.

employees subjected to retaliation for engaging in protected activities.

         210. Cynthia Kitchens                  worked at BSC as a Product Quality Manager K from

November 16, 2009, until June 30, 2016, when she was forced to resign due to a hostile work

environment. See Exhibit D, Kitchens Affidavit, at ¶ 2.

         211. During her assignment to the 787 BSC-Mid Assembly Quality Department at BSC,

she observed numerous quality, development, and assembly issues, including:




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              metal shavings (FOD) in the aircraft, including FOD on and inside wiring bundles,

              which were being installed on aircraft, with knowledge that these bundles contained

              FOD embedded within these and/or being routed improperly;

              instructions from management to make repairs without the required documentation

              and engineering dispositions;

              the voiding of non-conformances in order to meet production schedule by senior

              managers;

              installing of damaged and/or non-conforming parts onto the aircraft at the direction

              of senior managers;

              individuals being told by upper management to not find or write non-conformances;

              individuals being instructed to write pick-ups, instead of non-conformances, in order

              to meet production deadlines; and

              pick-ups were destroyed on a regular basis to prevent a paper trail for the build

              record.

Exhibit D, at ¶ 4.

       212. Kitchens also observed the failure to follow the ISO9001 building guidelines of the

aircraft certification; the failure of employees to log into Velocity to make an accurate build record

of the aircraft (employees were having other employees sign in to do the work on their behalf, in

violation of FAA regulations); and other serious safety issues, including the use of improper

lubricant on the jackscrew fittings on several 787 aircraft. Exhibit D, at ¶ 4.

       213. She, along with several other colleagues, reported many of these observations in a

2011 written complaint, including photographs of substantial defects, submitted to the U.S.

Department of Transportation Office of Inspector General. See Exhibit D, at ¶ 4.



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          214. ln 2011, Kitchens made an ethics complaint against a co-manager, where she

addressed several issues about him and his aggressive behavior towards employees and others.

Exhibit D, at ¶ 5. A week later,              -manager physically assaulted and battered her on the

plant floor. Id. He charged at her on the plant floor and shoved and pinned her with his forearm

and elbow up against a metal railing. Id. He placed his face inches from hers, raised his other hand,

and shoved his pointed finger into her face and screamed that she needed to learn to get on the

good old boy system or she would go nowhere in the company. Id.                       -manager was

upset that Kitchens checked out Boeing-issued cameras that she was using to photograph and

document defective work approved by him and his crew, which she had complained about before.

See id.

          215. Shortly thereafter, a witness of the assault on Kitchens complained to Corporate

Ethics about the incident. Exhibit D, at ¶ 6. Instead of Boeing immediately reporting

co-             conduct to law enforcement, he was promoted just a few weeks later to Ki

direct supervisor. Id.

          216. ln 2012, Ki          Performance Management                scores were reduced in

retaliation for reporting her supervisor for inappropriate remarks in the workplace and for reporting

unprofessional behavior of other senior managers. Exhibit D, at ¶ 8.

          217. The following year, Kitchens was diagnosed with cancer. Exhibit D, at ¶ 9. She

underwent extensive treatment and was out of work. Id. Before this, she had a PM score of 19. Id.

While she was out of work receiving treatment, her supervisor reduced her PM score to l4. Id. She

was never informed that her PM score was being lowered. Id.

          218. During 2015, Kitchens applied for 14 positions and, despite being qualified for them

all, she was not selected for any of the positions. Exhibit D, at ¶ 10.




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        219. The hostile work environment at Boeing caused Kitchens to have a high level of

stress. Exhibit D, at ¶ 11. The daily stress that she had accumulated caused her doctor to put her

on medical leave for two weeks, and soon thereafter, she started seeing a cardiologist. Id.

        220. Kitchens continually and repeatedly insisted that FAA regulations be followed.

Exhibit D, at ¶ 14. As a result, she faced a repetitive and systematic pattern of being requested to

violate or ignore the law or otherwise was threatened with unwanted discipline or placed on

performance watch. Id.

        221. Several other current or former Boeing employees have claimed that Boeing retaliated
                                                                               17
against them after they blew

                                              V. CLAIMS

                                    FIRST CAUSE OF ACTION
                                      (WRONGFUL DEATH)

        222. Plaintiffs reallege and reiterate paragraphs 1 through 221 as if fully set forth in this

paragraph in its entirety.

        223. Boeing had a duty to maintain a safe work environment for its employees, free from

pressure to cut corners and violate the law, as well as free from hostility and retaliation.

        224. Boeing breached its duty of care by intentionally pressuring John to violate the law and

subjecting John, an employee, to a hostile workplace that not only inflicted severe emotional distress

but was also certain or substantially certain to cause such distress.




17
   See Sayak Basu, The Curious Case of Boeing Whistleblowers Dying, Deccan Herald (May 3,
2024, 8:54 AM), https://www.deccanherald.com/business/companies/the-curious-case-of-boeing-
whistleblowers-dying-3006364; see also 2024 Blueprint North America Whistleblowing Prize,
Blueprint for Free Speech, https://www.blueprintforfreespeech.net/en/prize/recipients/2024/
boeing-whistleblowers; Blueprint for Free Speech Whistleblower Prizes 2024, Byline Times (Dec.
5, 2024), https://byline.tv/video/blueprint-for-free-speech-whistleblower-prizes-2024/.

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        225. Boeing acted intentionally, with an intent to inflict harm on John               and in

fact harmed John by driving him to suicide.

        226.                                                                  John to a hostile work

environment and preventing quality and safety processes and procedures from being followed would

cause John to suffer from PTSD, depression, anxiety, and panic attacks.

        227.         emotional distress was so severe that no reasonable person could be expected to

endure it.

        228.                                                                  John to a hostile work

environment, were the proximate cause of          mental injuries such as PTSD, depression, anxiety,

and panic attacks.

        229. It is well known that individuals suffering from PTSD, depression, anxiety, and panic

attacks are at much greater risk of suicide, and accordingly,          suicide was also foreseeable,

especially given the severity and prolonged nature of the hostile work environment he experienced at

Boeing.

        230.         PTSD, depression, anxiety, and panic attacks

conduct, caused him to take his own life, which he would not have done but for being subjected to

                                    and its continuing retaliatory conduct.

        231.

        232. As a result of                   John met an untimely death. The beneficiaries of John

have endured and continue to endure: (1) pecuniary loss, (2) mental shock and suffering, (3) wounded

feelings, (4) grief and sorrow, and (5) deprivation of the use and comfort of the            society,

the loss of his experience, knowledge, and judgment in managing the affairs of himself and of his

beneficiaries.




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                                 SECOND CAUSE OF ACTION
                                    (ABUSE OF PROCESS)

        233. Plaintiffs reallege and reiterate paragraphs 1 through 221 as if fully set forth in this

paragraph in its entirety.

        234.

have been intentionally used in part for an improper ulterior purpose.

        235. Boeing willfully engaged in conduct not proper in the regular course of the proceeding,

including its refusal to comply with three court orders to produce highly relevant documents in the

AIR21 case regarding serious safety and quality defects in the 787 aircraft                failure to

adequately address those safety and quality defects, as well as documents reflecting

misrepresentations made by Boeing to the FAA and to OSHA in the AIR21 litigation.

        236.                           was to withhold the production of key documents to prevent

John from further pursuing his whistleblower complaints with the FAA concerning serious safety and

quality defects on 787 aircraft, and to prevent the FAA, OSHA, Congress, and the public from

learning how Boeing violated safety regulations to save money.

        237.                                           the production of key documents was also to

weaponize the legal process and to push John                                             to push him

to stop pursuing his complaint and to stop him from speaking out about Boeing.

        238. Boeing                intended to prevent disclosure of its misrepresentations to OSHA

and the FAA to prevent John from further pursuing his pending FAA whistleblower complaints and

the AIR21 case, and to keep him from demonstrating that Boeing had failed to adequately address

those complaints.




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        239. Boeing abused the litigation process in withholding these key documents to gain a

collateral advantage by concealing its conduct from the government and from the public, and to

ratchet up the pressure on John

        240. The U.S. House Transportation and Infrastructure Committee found during its



reported that Boeing sought to conceal information even from the political leaders of our country. See

supra ¶ 194.

        241. Boeing again recently sought to conceal documents from the Permanent Sub-

Committee on Investigations of the U.S. Senate Committee on Homeland Security &

Governmental Affairs regarding
                                                                              18



        242. Boeing was sanctioned by the court in the pending AIR21 case and had one of its

defenses struck for violating the court              to produce the key documents referenced previously.

        243.                                  withhold evidence and documents in litigation under the

circumstances (i.e., to hinder John from further pursuing his FAA whistleblower complaint regarding

serious defects that were concealed from the FAA; to hide relevant and material information from the

FAA, OSHA, Congress, Department of Labor, and the public; and to further retaliate against John)

rise to the level of the tort of abuse of process.

        244.

        245.                      harmed John.




18
  Bloomberg Quicktake, Sen. Blumenthal Calls Out Boeing's Gobbledygook Safety Data,
YouTube (June 18, 2024), https://www.youtube.com/watch?v=PhtY5igpvl0.

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         246. As such, Plaintiffs are entitled to actual, special,

                                                                     ongoing mental distress and avoidable

death.

                                   VI.      REQUEST FOR RELIEF

         WHEREFORE, Plaintiffs pray for a judgment against the Defendant for (1) pecuniary loss,

(2) mental shock and suffering, (3) wounded feelings, (4) grief and sorrow, and (5) deprivation of the

use and comfort of the                 society, the loss of his experience, knowledge, and judgment in

managing the affairs of himself and of his beneficiaries, as well as funeral and burial expenses,

together with punitive damages in an appropriate amount, for the costs of this action, reasonable

                                                            is Court may deem just and proper.

                                VII.     DEMAND FOR JURY TRIAL

         Plaintiffs hereby request a jury trial on all issues raised in this Complaint.



                                         -Signature Page to Follow-




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Dated: March 19, 2025         Respectfully submitted,

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